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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,

             Plaintiffs,                           Civil Action No. 18-cv-11028

                     v.

MACOM TECHNOLOGY SOLUTIONS                         JURY TRIAL DEMANDED
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,

             Defendants.


                  NOTICE OF APPEARANCE OF SAFRAZ W. ISHMAEL

        Pursuant to Local Rule 83.5.2(a), please enter the appearance of Safraz W. Ishmael, of

 the law firm Proskauer Rose LLP, as counsel for plaintiffs Analog Devices, Inc. and Hittite

 Microwave LLC in this matter. All pleadings, correspondence, notices and other documents

 should be directed to the address below.

    Dated: May 21, 2018                           Respectfully submitted,

                                                  /s/ Safraz W. Ishmael
                                                  Steven M. Bauer (BBO No. 542531)
                                                  Kimberly A. Mottley (BBO No. 651190)
                                                  Safraz W. Ishmael (BBO No. 657881)
                                                  Kimberly Q. Li (BBO No. 698488)
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                                                  ATTORNEYS FOR ANALOG DEVICES,
                                                  INC. AND HITTITE MICROWAVE LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on May 21, 2018, I electronically filed the foregoing with the Clerk

of the Court by using CM/ECF system. A copy of the document will be served upon all parties

along with the summons and complaint.


                                              /s/ Safraz W. Ishmael
                                              Safraz W. Ishmael




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